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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

TAMARA JEAN FARRELL,                  )
an individual,                        )
                                      )      CASE NO.: 1:21-cv-00922-SCJ
            Plaintiff,                )
vs.                                   )
                                      )
USPG PORTFOLIO FIVE, LLC,             )
a Georgia Limited Liability Company,  )
                                      )
                                      )
WASA PROPERTIES SOUTHLAKE             )
PAVILION LLC,                         )
a Delaware Limited Liability Company, )
                                      )
                                      )
MT. ZION VILLAGE, LLC,                )
a Georgia Limited Liability Company,  )
                                      )
and                                   )
                                      )
SOUTHLAKE EQUITIES, LLC,              )
a Georgia Limited Liability Company   )
                                      )
            Defendants.               )
___________________________________/ )

                    FIRST AMENDED COMPLAINT

     Plaintiff, TAMARA JEAN FARRELL, through her undersigned counsel,

hereby files this First Amended Complaint and sues USPG PORTFOLIO FIVE,



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LLC, a Georgia Limited Liability Company, MT. ZION VILLAGE, LLC, a

Georgia Limited Liability Company and SOUTHLAKE EQUITIES, LLC, a

Georgia Limited Liability Company, for injunctive relief, attorney’s fees and costs

pursuant to 42 U.S.C. § 12181 et. seq., (“AMERICANS WITH DISABILITIES

ACT” or “ADA”) and allege:

                        JURISDICTION AND PARTIES

1.    This is an action for declaratory and injunctive relief pursuant to Title III of

      the Americans with Disabilities Act, 42 U.S.C. § 12181, et. seq., (hereinafter

      referred to as the “ADA”). This Court is vested with original jurisdiction

      pursuant to 28 U.S.C. §§ 1331 and 1343.

2.    Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) and Rule 3.1,

      Local Rules of the United States District Court for the Northern District of

      Georgia.

3.    Plaintiff, TAMARA JEAN FARRELL, (hereinafter referred to as “MS.

      FARRELL”), is a resident of Henry County, Georgia.

4.    MS. FARRELL is disabled and suffers from Congenital Spastic Cerebral

      Palsy Diplegia. She requires the use of either a special cane or a wheelchair

      as her primary means of mobility.



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5.   Due to her disability, MS. FARRELL is substantially impaired in several

     major life activities, including walking.

6.   Defendant, USPG PORTFOLIO FIVE, LLC, a Georgia Limited Liability

     Company, (hereinafter referred to as “USPG”), is registered to do business

     in the State of Georgia. Upon information and belief, USPG is the owner

     and/or operator of the real property and improvements which are the subject

     of this action, to wit: the Property, known as The Shoppes at Morrow

     Station, located at 1930 Mt. Zion Road, Morrow, Georgia 30260.

7.   Defendant, MT. ZION VILLAGE, LLC, a Georgia Limited Liability

     Company, (hereinafter referred to as “MZV”), is registered to do business in

     the State of Georgia. Upon information and belief, MZV is the owner and/or

     operator of the real property and improvements which are the subject of this

     action, to wit: the Property, known as The Shoppes at Morrow Station,

     located at 1940 Mt. Zion Road, Morrow, Georgia 30260. Collectively, these

     properties make up the Morrow Station shopping center, collectively

     referenced herein as the “Property”.

8.   Defendant, SOUTHLAKE EQUITIES, LLC, a Georgia Limited Liability

     Company, (hereinafter referred to as “SOUTHLAKE”), is registered to do

     business in the State of Georgia.           Upon information and belief,

     SOUTHLAKE is the owner and/or operator of the real property and

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      improvements which are the subject of this action, to wit: the Property,

      known as The Shoppes at Morrow Station, located at 1954 Mt. Zion Road,

      Morrow, Georgia 30260. Collectively, these properties make up the Morrow

      Station shopping center, collectively referenced herein as the “Property”.

9.    All events giving rise to this lawsuit occurred in the Northern District of

      Georgia, Clayton County, Georgia.

               COUNT I - VIOLATION OF TITLE III OF THE
                 AMERICANS WITH DISABILITIES ACT

10.   Plaintiff realleges and incorporates into this cause of action each and every

      allegation contained in the previous paragraphs of this First Amended

      Complaint.

11.   The Property, a large shopping center, is open to the public and provides

      goods and services to the public.

12.   MS. FARRELL has visited the Property and attempted to utilize the

      facilities offered at the Property.

13.   While at the Property, MS. FARRELL experienced serious difficulty

      accessing the goods and utilizing the services therein due to the architectural

      barriers discussed herein.

14.   MS. FARRELL continues to desire to visit the Property, but fears that she

      will continue to experience serious difficulty due to the barriers discussed


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      herein, which still exist.

15.   MS. FARRELL plans to and will visit the property in the near future to

      utilize the goods and services offered thereon.

16.   Defendants are in violation of 42 U.S.C. § 12181 et. seq. and 28 C.F.R. §

      36.304 et. seq. and is discriminating against the Plaintiff due to Defendants’

      failure to provide and/or correct, inter alia, the following:

            A.     Plaintiff encountered inaccessible disabled use parking spaces

                   throughout the Property due to excessive slopes near Ross

                   Dress for Less, Ashley Furniture, Fellas, American Signature

                   Furniture, Best Buy and Party City and Pet Hospital.

            B.     Plaintiff encountered inaccessible disabled use parking spaces

                   throughout the Property due to inadequate/low signage which is

                   easily obstructed by parked vehicles near Farmer’s Market,

                   Ross Dress for Less, Ashley Furniture, American Signature

                   Furniture, Shopper’s World, and Pet Smart.

            C.     Plaintiff encountered inaccessible disabled use parking spaces

                   near Ashley Furniture due to a lack of adjacent access aisles on

                   at least two (2) of the spaces and narrow dimensions on several

                   others in this area.

            D.     Plaintiff encountered inaccessible sidewalks near David’s

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                   Bridal, Shopper’s World, Ross Dress for Less, Ashley

                   Furniture, Farmer’s Market and Fellas due to changes in

                   elevation of over six inches but a failure to provide handrails

                   and level landings in these areas.

            E.     Plaintiff encountered inaccessible curb cuts throughout the

                   Property due to running slopes in excess of 1:12 and side flare

                   slopes in excess of 1:10.

17.   Defendants either do not have a policy to assist people with disabilities or

      refuses to enforce such a policy if it does exist.

18.   Independent of her intent to return as a patron to the Property, Plaintiff

      additionally intends to return to the Property as an ADA tester to determine

      whether the barriers to access stated herein have been remedied.

19.   Removal of the barriers to access located on the Property is readily

      achievable, reasonably feasible and easily accomplishable without placing

      an undue burden on Defendants.

20.   Removal of the barriers to access located on the Property would allow

      Plaintiff to fully utilize the goods and services located therein.

21.   The Plaintiff has been obligated to retain undersigned counsel for the filing

      and prosecution of this action. Plaintiff is entitled to have her reasonable

      attorney’s fees, costs, and litigation expenses paid by Defendants.

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      WHEREFORE, the Plaintiff demands judgment against USPG PORTFOLIO

FIVE, LLC, MT. ZION VILLAGE, LLC and SOUTHLAKE EQUITIES, LLC and

requests the following injunctive and declaratory relief:

             A.    That the Court declares that the Property owned and

                   operated by DEFENDANTS are in violation of the ADA;

             B.    That the Court enter an Order directing DEFENDANTS

                   to alter its property to make it accessible and useable by

                   individuals with disabilities to the full extent required by

                   Title III of the ADA;

             C.    That the Court enter an Order directing DEFENDANTS

                   to evaluate and neutralize its policies and procedures

                   towards persons with disabilities for such reasonable time

                   so as to allow DEFENDANTS to undertake and complete

                   corrective procedures;

             D.    That the Court award reasonable attorney’s fees, costs

                   (including expert fees), and other expenses of suit, to the

                   Plaintiff; and

             E.    That the Court award such other and further relief as it

                   deems necessary, just and proper.

                                 Respectfully Submitted,

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                                KU & MUSSMAN, P.A.
                                Attorneys for Plaintiff
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                                By: /s/ John A. Moore         .




                                       KU & MUSSMAN, P.A.
                                       Attorney for Plaintiff
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                                       Atlanta, GA 30314
                                       Tel.: (678) 288-5601
                                       Fax: (888) 553-0071
                                       Email: jmoore@moorelawllc.com


                         CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that on this 1st day of April, 2021, I electronically filed

the foregoing with the Clerk of the Court using the ECF system and a true and

correct copy of such filing will be served by U.S. Mail as follows:

WASA PROPERTIES SOUTHLAKE PAVILION LLC
By Serving Registered Agent:
CT Corporation System
289 S. Culver Street
Lawrenceville, Georgia 30046

USPG PORTFOLIO FIVE, LLC
By Serving Registered Agent:
Capitol Corporate Services, Inc.
3675 Crestwood Parkway NW, Suite 350
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Duluth, Georgia 30096

MT. ZION VILLAGE, LLC
By Serving Registered Agent:
Alice Kim
1649 International Court
Norcross, Georgia 30093

SOUTHLAKE EQUITIES, LLC
By Serving Registered Agent:
Incorporating Services, LTD.
900 Old Roswell Lakes Parkway, Suite 310
Roswell, Georgia 30076




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